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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



ESPERION THERAPEUTICS, INC.


                 Plaintiff,
                                                             Civil Action No:
v.

DAIICHI SANKYO EUROPE GMBH.,


                 Defendant.


                                               COMPLAINT

        1.       Plaintiff Esperion Therapeutics, Inc. (“Esperion”) brings this Complaint for

declaratory judgment against Daiichi Sankyo Europe GmbH (“DSE”) regarding its right to a

Regulatory Milestone Payment, as defined in the License and Collaboration Agreement between

Esperion and DSE, dated January 2, 2019 (the “Agreement”). A redacted copy of which is attached

hereto as Exhibit A. 1

        2.       This dispute arises out of one of DSE’s payment obligations under the

Agreement—the Regulatory Milestone Payment.

        3.        Esperion is entitled to a Regulatory Milestone Payment from DSE on the

occurrence of an event, termed Regulatory Milestone Event in the Agreement: Regulatory

Approval in the DSE Territory 2 that includes “cardiovascular risk reduction” in the label that

correlates with the relative risk reduction rate equal or greater than 15%. Ex. A at Section 9.2.


1
  Capitalized terms used but not otherwise defined herein shall have the meanings assigned to such terms in the
Agreement.
2
  The DSE Territory means “Andorra, Austria, Belgium, Bulgaria, Croatia, Republic of Cyprus, Czech Republic,
Denmark, Estonia, Finland, France, Germany, Greece, Hungary, Iceland, Ireland, Italy (incl. Vatican City), Latvia,

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        4.       The amount of the Regulatory Milestone Payment that Esperion is entitled to upon

achievement of this Regulatory Milestone Event depends on the relative cardiovascular risk

reduction rate as demonstrated by the results of a recently completed global cardiovascular

outcomes trial, known as Cholesterol Lowering via bempedoic acid, an ACL-inhibiting Regimen

(CLEAR) Outcomes (the “CLEAR Outcome Study”).

        5.       This Complaint seeks a declaratory judgment from this Court to settle a legal

dispute that exists between Esperion and DSE regarding how the phrase “cardiovascular risk” is

to be defined as it is used in the relevant section of the Agreement.

                                                 PARTIES

        6.       Esperion is a pharmaceutical company incorporated in Delaware and has its

principal place of business at 3891 Ranchero Drive, Suite 150, Ann Arbor, Michigan 48108.

Esperion is focused on developing and commercializing accessible, oral, once-daily, non-statin

medicines for patients struggling with elevated low-density lipoprotein cholesterol (“LDL-C”).

        7.       Upon information and belief, Defendant Daiichi Sankyo Europe GmbH is a limited

liability company in Germany with its principal place of business in Munich, Germany. Daiichi

Sankyo Europe GmbH is a wholly owned affiliate of Daiichi Sankyo Co., Ltd., headquartered in

Tokyo, Japan.

                                    JURISDICTION AND VENUE

        8.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a)(2) because this is a dispute between citizens of a State and citizens of a foreign state and

the amount in controversy exceeds $75,000, exclusive of interest and costs.



Liechtenstein, Lithuania, Luxembourg, Malta, Monaco, Netherlands, Norway, Poland, Portugal, Romania, San
Marino, Slovenia, Slovakia, Spain, Sweden, Switzerland and United Kingdom” and Turkey. Ex. A at Section 1.35 and
1st Amendment to the Agreement, dated June 18, 2020.

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       9.      This Court has personal jurisdiction over DSE because DSE is a party to the License

and Collaboration Agreement by and between DSE and Esperion, dated as of January 2, 2019, in

which DSE agreed to “submit[] to the jurisdiction of the courts sitting in New York City, New

York, for the purpose of any dispute arising between the Parties in connection with this

Agreement.” Ex. A at Section 14.4; see also 28 U.S.C. § 1391(b); N.Y. G.O.L. § 5-1402.

       10.     Venue is proper in this District because DSE has consented to this matter being

adjudicated in New York. 28 U.S.C. § 1391.

                                             FACTS

       11.      Esperion, founded in 2008, is a pharmaceutical company focused on developing

and commercializing accessible, oral, once-daily, non-statin medicines for patients struggling with

elevated LDL-C.

       12.     Elevated LDL-C is well-accepted as a significant risk factor for cardiovascular

disease. A consequence of elevated LDL-C is atherosclerosis, which is a disease characterized by

the deposition of excess LDL and other similar lipid-containing particles in the walls of arteries.

This process leads to the formation of atherosclerotic plaque lesions in the artery walls. Depending

upon their location, continued progression of atherosclerotic plaques can lead to heart attacks,

strokes and peripheral artery disease.

       13.     Two patient populations with a high unmet medical need arising from particularly

severe elevation of LDL-C are those suffering from (i) atherosclerotic cardiovascular disease

(“ASCVD”), which is a slow, progressive disease characterized by the hardening and narrowing

of arterial walls; and (ii) heterozygous familial hypercholesterolemia (“HeFH”), which is a genetic

condition characterized by impaired cholesterol metabolism and clinically elevated blood

cholesterol.



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       14.     Esperion currently has two marketed products approved in the United States and

Europe for the treatment of adults with HeFH or established ASCVD who require additional

lowering of LDL-C.

       15.     NEXLETOL® contains bempedoic acid and was approved by the FDA in February

2020 as an adjunct to diet and maximally tolerated statin therapy for the treatment of adults with

HeFH or established ASCVD who require additional lowering of LDL-C.

       16.     NEXLIZET® contains bempedoic acid and ezetimibe and was approved by the

FDA in February 2020 as an adjunct to diet and maximally tolerated statin therapy for the treatment

of adults with HeFH or established ASCVD who require additional lowering of LDL-C.

The License and Collaboration Agreement With DSE

       17.     On January 2, 2019, Esperion entered into the Agreement.            Pursuant to the

Agreement, Esperion granted DSE exclusive commercialization rights to products containing

bempedoic acid—which would include NEXLETOL® and NEXLIZET® (branded in Europe as

NILEMDO® and NUSTENDI®)—in the European Economic Area and Switzerland, defined in

the Agreement as the DSE Territory.

       18.     In consideration for such exclusive commercialization rights, the Agreement

requires, among other things, DSE to make certain payments to Esperion if various conditions are

met. See Ex. A at Section 9. One such payment is the Regulatory Milestone Payment. Ex. A at

9.2.

       19.     Under the Agreement, Esperion is entitled to the Regulatory Milestone Payment if

two conditions, together comprising a Regulatory Milestone Event, are met: (1) Grant of

Regulatory Approval in the DSE Territory of a Licensed Product; and (2) such Regulatory

Approval “includes cardiovascular risk reduction in the label that correlates with the relative risk



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reduction rate” equal or greater than 15%, which itself is contractually tied to the results of the

CLEAR Outcome Study. Ex. A at Section 9.2.

       20.     If Regulatory Approval is granted and the CLEAR Outcome Study demonstrates a

cardiovascular risk reduction rate equal to or greater than 15% and less than 20%, Esperion is

entitled to a Regulatory Milestone Payment of $200,000,000. Ex. A at Section 9.2

       21.     If Regulatory Approval is granted and the CLEAR Outcome Study demonstrates a

cardiovascular risk reduction rate equal to or greater than 20%, Esperion is entitled to a Regulatory

Milestone Payment of $300,000,000. Ex. A at Section 9.2.

       22.     Section 9.2 of the Agreement specifically provides as follows:




CLEAR Outcome Study

       23.     Esperion recently completed the CLEAR Outcome Study. The study was designed

to evaluate whether treatment with bempedoic acid reduced the risk of cardiovascular events in

patients who are statin averse and who have cardiovascular disease or are at high risk for

cardiovascular disease.

       24.     The Clear Outcome Study demonstrated the effect of bempedoic acid on different

types of adverse cardiovascular events and provided efficacy data for several endpoints, including

(1) MACE-4, a composite of four major adverse cardiovascular events (cardiovascular death,

nonfatal myocardial infarction, nonfatal stroke, or coronary revascularization); (2) MACE-3, a

composite of three major adverse cardiovascular events (cardiovascular death, nonfatal myocardial

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infarction, or nonfatal stroke); (3) fatal and nonfatal myocardial infarction; (4) coronary

revascularization; (5) fatal and nonfatal stroke; (6) cardiovascular death; and (7) all-cause

mortality.

         25.      On March 4, 2023, the Company announced the full results from the CLEAR

Outcome Study.

CLEAR Outcome Study Demonstrates Reduction of Cardiovascular Risk by Over 20%

         26.      The CLEAR Outcome Study demonstrated that the risk of nonfatal myocardial

infarction—heart attacks—was significantly lower for a patient taking bempedoic acid, as

compared to a placebo, by 27%. 3

         27.      Because the Clear Outcome Study demonstrated a reduction of cardiovascular risk

by over 20%—specifically, a reduction in nonfatal heart attacks—Esperion believes that it will be

entitled to receive a $300 million milestone payment from DSE upon Regulatory Approval with

the inclusion of cardiovascular risk reduction in the label. 4 Esperion communiated this to DSE on

March 8, 2023.

         28.      DSE disagrees. DSE believes (and has communicated to Esperion) that DSE will

never be required to pay Esperion any Regulatory Milestone Payment even if Esperion received

Regulatory Approval because the CLEAR Outcome Study did not show the MACE-4 composite

risk reduction to be over 15%.

         29.      DSE’s position—that Section 9.2 of the Agreement requires the CLEAR Outcome

Study to show the MACE-4 composite risk reduction to be over 15% in order for the second


3
  The results of the CLEAR Outcome Study were published in the New England Journal of Medicine. See Bempedoic
Acid and Cardiovascular Outcomes in Statin-Intolerant Patients | NEJM.
4
  The CLEAR Outcome Study also demonstrated a cardiovascular risk reduction rate of 23% for the composite of
nonfatal and fatal myocardial infarction that independently would entitle Esperion to a Regulatory Milestone Payment
of $300,000,000, as well as cardiovascular risk reductions rates equal to or above 15% for several other endpoints that
independently would entitle Esperion to a Regulatory Milestone Payment of $200,000,00, including fatal and nonfatal
stroke (15%), coronary revascularization (19%), and MACE-3 (15%).

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Condition of the Regulatory Milestone Event to be achieved—is inconsistent with the plain and

unambiguous language of the Agreement.

       30.     In order for Esperion to achieve the second condition of the Regulatory Milestone

Event, Section 9.2 requires only, in the plainest language possible, a “cardiovascular risk

reduction” of 15% or greater “as a result of the CLEAR Outcome Study” to be included in the

label upon Regulatory Approval.

       31.     Section 9.2 of the Agreement does not even mention MACE-4.

       32.     On the other hand, one of the many cardiovascular risks that confront the population

is the risk of myocardial infarction, commonly known as a heart attack.

Esperion Suffers Economic Harm from DSE’s Position

       33.     Consistent with its obligations as a public company, on March 15, 2023, Esperion

publicly disclosed that it “has had communications with Daiichi Sankyo Europe (DSE) regarding

potential milestone payments in which DSE has conveyed that it disagrees with the Company’s

assessment that the CLEAR Outcomes data would support the Company’s right to receive any

milestone payments upon inclusion of certain required cardiovascular risk reduction data in the

EU label, because the CLEAR Outcomes study showed a 12.98% reduction in MACE-4, the

primary endpoint of the trial.” See March 15, 2023 Form 8-K.

       34.     On March 15, 2023, prior to issuing the disclosure, Esperion’s stock price was

$3.99. When the market opened the day following the disclosure on March 16, 2023, Esperion’s

stock price immediately fell to $1.49.

       35.     Additionally, since DSE has taken its March 14, 2023 position that Esperion will

never be entitled to a Regulatory Milestone Payment, it has been materially more difficult for

Esperion to raise the capital necessary for the continued operation of its business.



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       36.     DSE’s incorrect position regarding Section 9.2 has caused ongoing harm to

Esperion, and also risks the continued development and distribution of a significant and valuable

medicine that could help millions of people around the world.

                                      CAUSES OF ACTION

                                           COUNT I
                                     Declaratory Judgement

       37.     Esperion repeats and re-alleges each and every allegation set forth in Paragraphs 1

through 36 above as if fully set forth herein.

       38.     DSE has stated that even if Esperion receives Regulatory Approval in the DSE

Territory, it will not pay Esperion the Regulatory Milestone Payment to which it would be entitled

under the Agreement.

       39.     DSE’s position is that it is impossible for Esperion to achieve the Regulatory

Milestone Event even if Esperion received Regulatory Approval because the CLEAR Outcome

Study did not show MACE-4 risk reduction equal to or greater than 15%.

       40.     However, DSE’s position is wrong. Under Section 9.2 of the Agreement, in order

to achieve one of the conditions of the Regulatory Milestone Event, the CLEAR Outcome Study

need only show a “cardiovascular risk reduction” of 15% or greater, which is not limited to MACE-

4, as DSE claims.

       41.     The CLEAR Outcome Study demonstrated a cardiovascular risk reduction of over

15%.

       42.     Specifically, the CLEAR Outcome Study showed a reduction rate of 27% for

nonfatal myocardial infarction (heart attacks) in patients using bempedoic acid.

       43.     Upon public disclosure of DSE’s position regarding the impossibility of Esperion

meeting one condition of the Regulatory Milestone Event, Esperion suffered immediate economic

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harm. Esperion’s stock price fell by over 50%, dropping from $3.99 to $1.49 after such disclosure.

Since the disclosure, Esperion continues to suffer harm as it had become materially more difficult

to raise the capital necessary for the continued operation of its business.

                                      CLAIM FOR RELIEF

       WHEREFORE, Esperion requests that this Court issue a declaratory judgment against

Defendant in favor of Plaintiff and enter an order:

           a. Declaring that “cardiovascular risk reduction” as stated in Section 9.2 of the

               Agreement is not limited to MACE-4 results;

           b. Declaring that “cardiovascular risk reduction” as stated in Section 9.2 of the

               Agreement includes risk reduction of nonfatal myocardial infarction (heart attacks);

               and

           c. Declaring that Esperion’s CLEAR Outcome Study demonstrated a cardiovascular

               risk reduction of over 20%.

 Dated: March 27, 2023                                Respectfully submitted,

                                                      ESPERION THERAPEUTICS, INC.,

                                                      By its attorneys,

                                                      /s/ Jordan D. Weiss
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